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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
WESTERN DIVISION
AERICK SHORTY, No. CV 20-126-JAK (PLA)
ORDER ACCEPTING MAGISTRATE

JUDGE’S REPORT AND
RECOMMENDATION

Petitioner,
V.
KEN CLARK, Warden,

Respondent.

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Pursuant to 28 U.S.C. § 636, the Court has reviewed the Petition, the other records on file
herein, the Magistrate Judge’s Report and Recommendation, and petitioner’s Objections to the
Report and Recommendation. The Court has engaged in a de novo review of those portions of
the Report and Recommendation to which objections have been made. The Court accepts the

recommendations of the Magistrate Judge.

ACCORDINGLY, IT IS ORDERED:

4. The Report and Recommendation is accepted.

2. Judgment shall be entered consistent with this Order.

3 The clerk shall serve this Order and the Judgment on all counsel or parties of record.

DATED: _ October 22, 2020 We.

JOHN A. KRONSTADT
UNITED STATES DISTRICT JUDGE

 

 

 
